                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

In re:                                           )
                                                 )   Case No. 3:19-bk-1971
CAPSTONE PEDIATRICS, PLLC,                       )
                                                 )   Chapter 11
                      Debtor.                    )
                                                 )
                                                 )
CDS BUSINESS SERVICES, INC. d/b/a                )
NEWTEK BUSINESS CREDIT,                          )
                                                 )
                      Plaintiff,                 )
                                                 )
v.                                               )   Adv. Proc. No. 3:20-ap-90140
                                                 )
AMERICA CARES TRUST d/b/a                        )
CARENATION,                                      )
                                                 )
                      Defendant.                 )


                AMENDED ANSWER AND COUNTERCLAIM OF
          DEFENDANT, AMERICA CARES TRUST, INC. D/B/A CARENATION


         For Answer and Counterclaim to “Complaint For Damages and Injunctive Relief” (Doc.

1) (the “Complaint”) filed by the Plaintiff, CDS Business Services, Inc. d/b/a Newtek Business

Credit (hereinafter the “Plaintiff” or “CDS”), Defendant America Cares Trust, Inc. d/b/a

CareNation (hereinafter “CareNation” or “Defendant”), by and through the undersigned

counsel, states the following admissions, denials, defenses and claims.

         CareNation files this Amended Answer and Counterclaim pursuant to Fed. R. Bankr. P.

7015 and Fed. R. Civ. P. 15(a)(2), having received written consent from counsel of record for

CDS to this filing on December 11, 2020.




Case 3:20-ap-90140       Doc 54     Filed 12/18/20 Entered 12/18/20 12:29:06        Desc Main
                                            {02152833.3 }
                                   Document        Page 1 of 19
                               I.      ANSWER -- JURISDICTION

    1. For answer to Paragraph 1 of the Complaint, CareNation admits that this Court enjoys

personal jurisdiction over the Defendant in this matter.

    2. Defendant admits the allegations contained in Paragraph 2 of the Complaint.

    3. Defendant admits the allegations contained in Paragraph 3 of the Complaint.

    4. Defendant admits the allegations contained in Paragraph 4 of the Complaint.


                        II.     ANSWER -- FACTUAL BACKGROUND

    5. Defendant admits the allegations contained in Paragraph 5 of the Complaint.

    6. Defendant admits the allegations contained in Paragraph 6 of the Complaint.

    7. For answer to Paragraph 7 of the Complaint, CareNation admits that Capstone Pediatrics,

PLLC (the “Debtor”) filed certain “First Day Motions” including a certain “Expedited Motion

For Order Authorizing Debtor to Retain Existing Bank Accounts, Cash Management Systems

and Business Forms” (3:19-bk-1971, Doc. 5). CareNation refers to said “Bank Account and

Cash Management Motion” for its true meaning and effect, including the nature and purpose of

the “Payroll Account” (account no. XXXXXX7579), the “Operating Account” (account no.

XXXXXX6837), the “DIP Facility” and the “Carve Out Account.” CareNation further admits

that this Court entered an Order granting the Bank Account and Cash Management Motion on

April 4, 2019) (3:19-bk-1971 Doc. 43), and CareNation refers to said April 4, 2019 Order for its

true meaning and effect. CareNation denies the allegations contained in Paragraph 7 of the

Complaint to the extent that they are inconsistent with this Paragraph.

    8. For answer to Paragraph 8 of the Complaint, CareNation admits that Capstone Pediatrics,

PLLC (the “Debtor”) filed certain “First Day Motions” including a certain motion to appoint an

independent Chief Restructuring Officer and Turnaround Advisory Firm (3:19-bk-18971 Doc.




Case 3:20-ap-90140       Doc 54      Filed 12/18/20 Entered 12/18/20 12:29:06        Desc Main
{02152833.3 }
                                    Document 2 Page 2 of 19
7), and such Motion was granted by (i) an interim Order entered on April 6, 2019 (Id. at Doc. 56)

and the “CRO/Turnaround Advisory Firm Order” dated May 17, 2019 (Id. at Doc. 109).

CareNation refers to said Motion and Orders for their true meaning and effect. CareNation

denies the allegations contained in Paragraph 8 of the Complaint to the extent that they are

inconsistent with this Paragraph.

    9. For answer to Paragraph 9 of the CareNation refers to the CRO/Turnaround Advisory

Firm Order for its true meaning and effect, and denies the allegations contained in Paragraph 9 of

the Complaint to the extent they are inconsistent with said order.

    10. Defendant admits the allegations contained in Paragraph 10 of the Complaint.

    11. Defendant lacks knowledge or information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 11 of the Complaint and footnote accompanying same.

CareNation refers to the DIP Facility and DIP Financing Orders for their true meanings and

effects.

    12. Defendant admits the allegations contained in Paragraph 12 of the Complaint, and further

states as follows. Debtor was one (1) of the largest independent privately held pediatric practices

in the Middle Tennessee region. Its mission was to deliver personalized, quality care to improve

and maintain its patients’ health and wellbeing. At the time of the filing of this case, Debtor

employed 15 medical professionals and had between 25,000 and 35,000 patients. Debtor had

locations in the Middle Tennessee area in Clarksville, Antioch and Smyrna.             Debtor had

contracts with several Medicare and Medicaid payors.

    13. For answer to Paragraph 13 of the Complaint, CareNation states as follows. CareNation

Admits that “Garcia” was authorized by the “CRO” and/or the “Turnaround Advisory Firm”

to obtain access as a “Primary Administrator” of the Debtor’s DIP Accounts via the Bank of




Case 3:20-ap-90140       Doc 54      Filed 12/18/20 Entered 12/18/20 12:29:06          Desc Main
{02152833.3 }
                                    Document 3 Page 3 of 19
America’s Cashpro® online platform. CareNation lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations contained in Paragraph 13 of the

Complaint.

    14. Defendant denies the allegations contained in Paragraph 14 of the Complaint, and further

rely on the “APA” referred to in Paragraph 14 of the Complaint for its true meaning and effect.

    15. Defendant admits the allegations contained in Paragraph 15 of the Complaint.

    16. For answer to Paragraph 16 of the Complaint, CareNation admits that its president,

 Michael Gaw, obtained access to the “DIP Accounts” via the Cashpro® online platform.

 Defendant denies the remaining (conjectural) allegations contained in Paragraph 16 of the

 Complaint.

    17. For answer to Paragraph 17 of the Complaint, CareNation admits that it accessed the DIP

 Accounts via the Cashpro® online platform to deposit proceeds of its accounts receivable and

 paying its expenses. CareNation further states as follows. At the time CareNation entered into

 the APA with Debtor, the only accounts for operating and collection were the Provider Account

 and the Operating Account. Until such time as CareNation could establish a separate provider

 payment account and all Medicare and Medicaid payments can be paid to a separate account in

 the name of CareNation, all Medicare and Medicaid government payments remain directed to

 the Provider Account. Pursuant to the APA, Debtor is entitled to all accounts receivable as of

 the closing date of July 20, 2020 (“Closing Date”), and CareNation is entitled to all accounts

 receivable resulting from services rendered and invoices issued after the Closing Date.

    18. For answer to Paragraph 18 of the Complaint, CareNation states as follows. CareNation

admits that on or about August 14, 2020, it initiated withdrawals from the Operating Account.

Specifically, CareNation will show that such withdrawals were comprised of proceeds from




Case 3:20-ap-90140      Doc 54     Filed 12/18/20 Entered 12/18/20 12:29:06            Desc Main
{02152833.3 }
                                  Document 4 Page 4 of 19
accounts receivable for services rendered after the APA was executed, and such proceeds were

the sole property of CareNation. CareNation denies that those withdrawals were made for the

express purpose of “preventing CDS from being paid in accordance with the DIP Facility and the

DIP Financing Orders.” Rather, CareNation will show that those withdrawals were made to

ensure CareNation could meet its operating costs and payroll obligations from its own revenues.

These withdrawals were made with the express knowledge of the CRO, or otherwise at the

instruction of the CRO. CareNation denies the allegations contained in Paragraph 18 of the

Complaint to the extent that they are inconsistent with this paragraph.

    19. Defendant denies the allegations as stated in Paragraph 19 of the Complaint and demands

strict proof thereof. Furthermore, on July 22, 2020, Michael Gaw provided the first page and

executed signature page of the Assignment and Assumption Agreement dated July 17, 2020

which clearly states CareNation entered into an Asset Purchase Agreement with Capstone

Pediatrics, PLLC on July 8, 2020.

    20. For answer to Paragraph 20 of the Complaint, CareNation admits that counsel of record

for CDS contacted prior counsel for CareNation prior to the latter’s withdrawal. CareNation

further admits that the purpose of that contact was to address withdrawals from the Operating

Account. CareNation denies the allegations contained in Paragraph 20 of the Complaint to the

extent they are inconsistent with this paragraph.

    21. Defendant denies the allegations as stated in Paragraph 21 of the Complaint, Defendant

states as follows.    Defendant denies the allegations related to CareNation’s “improperly

exercising control” over the DIP Accounts. Defendant lacks knowledge or information sufficient

to form a belief as to the truth of the allegations contained in Paragraph 21 of the Complaint,

specifically including the actual “writing” referred to therein, which was not attached to the




Case 3:20-ap-90140       Doc 54    Filed 12/18/20 Entered 12/18/20 12:29:06         Desc Main
{02152833.3 }
                                  Document 5 Page 5 of 19
Complaint.

    22. Defendant denies the allegations as stated in Paragraph 22 of the Complaint, and further

states as follows. CareNation commenced withdrawals from the Operating Account for the

express purpose of funding operating expenses and payroll obligations from revenues generated

by services CareNation rendered after the execution of the APA. CareNation did so with the

express consent of the CRO, and at the instruction of the CRO, until the entry of a Preliminary

Injunction in this matter. CDS was not, and is not, entitled to all funds CareNation withdrew

from the Operating Account.      A significant portion (if not significantly all) of the funds

withdrawn by CareNation were proceeds of post-sale receivables and not subject to any security

interest or other priority interest held by CDS as a result of the DIP Facility and the DIP

Financing Orders.


                          III.    ANSWER TO CAUSES OF ACTION

Count 1 – Conversion.

    23. Defendant hereby incorporates Paragraphs 1 through 22 of this Answer as if fully restated

herein.

    24. Defendant denies the allegations as stated in Paragraph 24 of the Complaint and demands

strict proof thereof.

    25. Defendant denies the allegations contained in Paragraph 25 of the Complaint and

demands strict proof thereof.

Count II – Tortious Interference With Contract/Existing Business Relations.

    26. Defendant hereby incorporates Paragraphs 1 through 25 of this Answer as if fully restated

herein.

    27. For answer to Paragraph 27 of the Complaint, CareNation refers to the DIP Facility and




Case 3:20-ap-90140      Doc 54    Filed 12/18/20 Entered 12/18/20 12:29:06            Desc Main
{02152833.3 }
                                 Document 6 Page 6 of 19
DIP Financing Orders for their true meanings and effects, and otherwise denies the allegations

contained in Paragraph 27 of the Complaint.

    28. Defendant denies the allegations contained in Paragraph 28 of the Complaint, and

requests a more definite statement as to how, when and by what means “CareNation was aware

of the DIP Financing Orders, and the terms and conditions of the DIP Facility approved

thereby.”

    29. CareNation denies the allegations contained in Paragraph 29 of the Complaint, and

further states that CareNation’s withdrawals from the Operating Account were intended to

recover post-sale receivables and not subject to any security interest or other priority interest held

by CDS as a result of the DIP Facility and the DIP Financing Orders. Such withdrawals were

further intended to meet operating expenses and payroll obligations to ensure continuation of

medical services for tens of thousands of pediatric patients in Middle Tennessee.

    30. Defendant denies the allegations contained in Paragraph 30 of the Complaint and

demands strict proof thereof.

    31. Defendant denies the allegations contained in Paragraph 31 of the Complaint and

demands strict proof thereof. Defendant further states that the Debtor, by and through the CRO,

was aware of and consented to any and all withdrawals Defendant made from the DIP Accounts,

and the purposes of such withdrawals.

    32. Defendant denies the allegations contained in Paragraph 32 of the Complaint and

demands strict proof thereof.

    33. Defendant denies the allegations contained in Paragraph 33 of the Complaint and

demands strict proof thereof.

    34. Defendant denies the allegations contained in Paragraph 34 of the Complaint and




Case 3:20-ap-90140       Doc 54     Filed 12/18/20 Entered 12/18/20 12:29:06              Desc Main
{02152833.3 }
                                   Document 7 Page 7 of 19
demands strict proof thereof.

Count III. Violation of Tenn. Code Ann. § 47-50-109.

    35. Defendant hereby incorporates Paragraphs 1 through 34 of this Answer as if fully restated

herein.

    36. Defendant denies the allegations contained in Paragraph 36 of the Complaint, which

constitute conclusions of law.

    37. Defendant denies the allegations contained in Paragraph 37 of the Complaint and

demands strict proof thereof.

    38. Defendant denies the allegations contained in Paragraph 38 of the Complaint and

demands strict proof thereof.

    39. Defendant denies the allegations contained in Paragraph 39 of the Complaint and

demands strict proof thereof.

Count IV – Breach of Contract.

    40. Defendant hereby incorporates Paragraphs 1 through 39 of the Answer as if fully restated

herein.

    41. Defendant denies the allegations contained in Paragraph 41 of the Complaint, which

constitute conclusions of law.

    42. For answer to Paragraph 42 of the Complaint, Defendant refers to the APA for its true

meaning and effect, and otherwise denies the allegations contained in Paragraph 42 of the

Complaint.

    43. Defendant denies the allegations contained in Paragraph 43 of the Complaint and

demands strict proof thereof.

Count V – Injunctive Relief.




Case 3:20-ap-90140       Doc 54    Filed 12/18/20 Entered 12/18/20 12:29:06           Desc Main
{02152833.3 }
                                  Document 8 Page 8 of 19
    44. Defendant hereby incorporates Paragraphs 1 through 43 of the Answer as if fully restated

herein.

    45. For answer to Paragraph 45 of the Complaint, Defendant refers to the DIP Facility for its

true meaning and effect, and otherwise denies the allegations contained in Paragraph 42 of the

Complaint.

    46. Defendant denies the allegations contained in Paragraph 46 of the Complaint, demands

strict proof thereof, and further moves to STRIKE the scandalous allegations characterizing

CareNation’s conduct as “nefarious, bad faith actions” pursuant to Fed. R. Civ. P. 8(f)(2).

    47. Defendant denies the allegations and prayer for injunctive relief contained in Paragraph

47 of the Complaint.

Response to Prayer for Relief

For response to the prayer for relief contained on page 11 of the Complaint, CareNation denies

that the Plaintiff is entitled to any relief whatsoever.

Denial of Allegations not Specifically Admitted

Unless specifically admitted by CareNation in the foregoing paragraphs to this Answer herein,

all other allegations not otherwise addressed therein are hereby DENIED.


                                         FIRST DEFENSE

          The Complaint fails to state a claim upon which relief may be granted.


                                        SECOND DEFENSE

          The Complaint must be dismissed for failure to name or otherwise join indispensable

parties, i.e., the Debtor, the CRO and the Turnaround Advisory Firm.




Case 3:20-ap-90140         Doc 54    Filed 12/18/20 Entered 12/18/20 12:29:06          Desc Main
{02152833.3 }
                                    Document 9 Page 9 of 19
                                        THIRD DEFENSE

         CDS lacks standing to assert a cause of action for breach of contract against CareNation.


                                      FOURTH DEFENSE

         CDS lacks privity of contract with CareNation.


                                        FIFTH DEFENSE

         CDS is barred from asserting causes of action against CareNation in accordance with the

defense of unclean hands.

                                        SIXTH DEFENSE

         CDS is barred from asserting causes of action against CareNation in accordance with the

doctrines of estoppel and equitable estoppel.


                                      SEVENTH DEFENSE

         CareNation acted in good faith and reasonably relied on the instructions of the CRO

and/or the Turnaround Advisory Firm with regard to any transactions involving the DIP

Accounts.

                                       EIGHTH DEFENSE

         CareNation is entitled to a credit or offset against an award of damages to CDS in an

amount equal to all proceeds of accounts receivable for services rendered by CareNation after the

execution of the APA that were improperly converted by CDS in “sweeps” of the DIP Accounts

CDS conducted in excess of its rights under the DIP Facility and DIP Financing Orders.


                                       NINETH DEFENSE

         The Plaintiff is not entitled to recover punitive or special damages under any




Case 3:20-ap-90140        Doc 54    Filed 12/18/20 Entered 12/18/20 12:29:06            Desc Main
{02152833.3 }
                                   Document 10Page 10 of 19
circumstances and has failed to allege facts sufficient to state a claim for punitive or special

damages under any theory of recovery. Moreover, the conduct complained of by the Plaintiff, if

performed or carried out, was performed or carried out in good faith based upon reasonable

grounds for believing that such conduct was not in violation of law, and therefore, the Plaintiff

fails to state a claim for punitive damages.


                                        TENTH DEFENSE

         CDS has failed to mitigate its damages in this matter.


                                      ELEVENTH DEFENSE

         Defendant hereby reserves the right to supplement its defenses based upon information

obtained through discovery.



         WHEREFORE, Defendant America Cares Trust, Inc. d/b/a CareNation respectfully

prays that the Complaint be dismissed with prejudice, that the Plaintiff have and recover nothing

under such Complaint with costs taxed to the Plaintiff, for which execution may issue, if

necessary, and that this Court award such other and further relief to CareNation as this Court

deems proper.



                           The rest of this page is intentionally left blank.




Case 3:20-ap-90140        Doc 54    Filed 12/18/20 Entered 12/18/20 12:29:06         Desc Main
{02152833.3 }
                                   Document 11Page 11 of 19
                                      COUNTERCLAIM



                For its Counterclaim against Plaintiff, CDS Business Services, Inc d/b/a Newtek

Business Credit (“CDS”) the Defendant America Cares Trust, Inc. d/b/a CareNation

(“CareNation”), by and through the undersigned counsel, states as follows:



                             I. INCORPORATION OF ANSWER

         48.    The Defendant hereby incorporates Paragraphs 1 through 47 of his Answer as if

fully restated herein.

                                          II. PARTIES

         49.    CareNation is a Tennessee nonprofit corporation formed in September 2009.

Since the execution of the APA, CareNation has operated the former practice of Debtor as

Capstone Pediatrics, a division of CareNation (“Capstone Division”). All employees are treated

as employees of the Capstone Division. Since execution of the APA and approval of the Asset

Sale Order, the Capstone Division has continued to provide pediatric medical services on a not-

for-profit basis. Capstone Division currently employs 15 medical professionals, including board

certified pediatricians and pediatric nurse practitioners. Capstone Division also has a hospitalist

program, with two physician hospitalists and two pediatric nurse practitioner hospitalists.

Capstone Division currently provides primary pediatric care for a patient base comprised of

approximately 25,000 to 35,000 patients in Middle Tennessee. (Case No. 3:18-bk-1971 at

Docket Entry No. 8 at p. 4 ¶ 14.) Capstone Division’s areas of specialty include Developmental-

Behavioral Pediatrics, Audiology-Diagnostics and Behavioral Health.          Capstone Division’s

“payor mix” includes TennCare, which provides insurance coverage to a larger number of



Case 3:20-ap-90140       Doc 54    Filed 12/18/20 Entered 12/18/20 12:29:06            Desc Main
{02152833.3 }
                                  Document 12Page 12 of 19
Capstone Division’s patients.       Consequently, Capstone Division provides care to indigent

patients who, although TennCare beneficiaries, have limited options for pediatric care, as many

pediatric practices do not accept TennCare patients.

    50. On information and belief, CDS is a Delaware corporation with principal offices in West

Hempstead, New York.


                               III. JURISDICTION AND VENUE

    51. This court may exercise personal jurisdiction over CDS because, by virtue of the DIP

Facility and DIP Financing Orders previously entered into and approved by this Court, and by

filing the current action, it expressly consented to the jurisdiction of this Court to resolve any

disputes related to the transactions at issue in this matter.

    52. This Court has original subject matter jurisdiction over this adversary proceeding

 pursuant to 28 U.S.C. §§ 157 and 1334(b).

    53. Venue is proper in this court pursuant to 28 U.S.C. § 1409(a).

    54. This case is a core proceeding under 28 U.S.C. § 157(b)(2)(A) and (O).


                                    IV. ADDITIONAL FACTS

    55. Pursuant to the terms of the DIP Facility, and the approval of the Account and Cash

Management Motion on April 4, 2019, CDS was granted the right to conduct automatic daily

sweeps of the Operating Account. Upon acquisition of the assets of the Debtor, CareNation

made certain disbursements from the DIP Accounts as part of the continuing operations of its

medical practice.    However, as conceded by CDS, Capstone Division also “deposited the

proceeds of [Capstone Division] accounts receivable in to the Carve-Out Account and paying

expenses of [Capstone Division] from monies deposited into the Carve-Out Account.” (Doc. 4 at

p. 6 ¶ 13.)



Case 3:20-ap-90140        Doc 54    Filed 12/18/20 Entered 12/18/20 12:29:06          Desc Main
{02152833.3 }
                                   Document 13Page 13 of 19
    56. In addition to the accounts receivable proceeds mentioned hereinabove, Capstone

Division also deposited into the Carve-Out Account the proceeds of a certain loan it received

from Bank of America pursuant to the “Paycheck Protection Program” in the amount of

$636,386.00 (the “PPP Loan”). Capstone Division took out the PPP Loan to fund essential

payroll and approved operational costs in the wake of the economic crisis caused by the COVID-

19 Pandemic. Capstone Division took out the PPP Loan address its prospective economic needs,

not to finance the Debtor’s estate or otherwise satisfy any amounts due and owing to CDS by

virtue of the DIP Facility.

    57. At the time of the filing of CDS’ Motion for Preliminary Injunction on September 11,

2020, the DIP Accounts contained certain proceeds that represent cash assets of CareNation

earned after the entry of the Sale Order. At the time the Preliminary Injunction was issued on

September 18, 2020, CDS had no right, title or interest in the proceeds of the PPP Loan.

    58. Capstone Division’s operations depend greatly on an influx of payments on TennCare

medical claims, which are paid by the Center for Medicare and Medicaid Services (CMS).

CareNation has been advised that, as a successor provider to Debtor, CMS will need

approximately two (2) to four (4) months to process TennCare payments on CareNation’s

outstanding claims. In the interim, CareNation has relied heavily on payments received from

other providers and “self-pay” patients within its “payor mix,” as well as the proceeds of the PPP

Loan, to meet its operating expenses, including payroll for its medical professionals and staff.

    59. Since entry of the Preliminary Injunction in this matter, CareNation has conducted its

own accounting of DIP Account transactions since the APA was executed. CareNation estimates

that, between July 20, 2020 and August 10, 2020, CDS collected approximately $117,832.58

from automatic daily sweeps from the Operating Account and/or other DIP accounts.




Case 3:20-ap-90140        Doc 54    Filed 12/18/20 Entered 12/18/20 12:29:06            Desc Main
{02152833.3 }
                                   Document 14Page 14 of 19
CareNation further estimates that CDS is entitled to only approximately $78,098.70 of the funds

it actually swept.


                                  V. THEORIES OF RECOVERY

Count I – Declaratory Relief.

    60. The Defendant hereby incorporates Paragraphs 1 through 59 of this Answer and

Counterclaim as if fully restated herein.

    61. After the execution of the APA, CDS collected funds from the DIP Accounts that

exceeded the amounts to which CDS was entitled under the DIP Facility and DIP Financing

Orders. Those excess funds were, and remain, due and owing to CareNation.

    62. WHEREFORE, CareNation seeks declaratory relief pursuant to Tenn. Code Ann. §§29-

14-103 to 104:

                a. That CDS collected an amount not less than $117,832.58 from automatic daily

                   sweeps from the Operating Account and/or other DIP Accounts;

                b. That the DIP Facility and DIP Financing Orders entitled CDS to not more than

                   $78,000.00 of the funds it actually swept from the Operating Account and/or other

                   DIP Accounts; and

                c. That CDS has a right to recoupment of all funds swept by CDS in excess of the

                   amounts to which it was entitled under the DIP Facility and DIP Financing

                   Orders.

Count II – Conversion.

    63. The Defendant hereby incorporates Paragraphs 1 through 62 of this Answer and

Counterclaim as if Fully restated herein.

    64. By improperly sweeping funds from the DIP Accounts in excess of the amounts to




Case 3:20-ap-90140           Doc 54    Filed 12/18/20 Entered 12/18/20 12:29:06          Desc Main
{02152833.3 }
                                      Document 15Page 15 of 19
which it was entitled under the DIP Facility and Dip Financing Orders, CDS has claimed funds

due and owing to CareNation which are not subject to CDS’ “properly perfected senior security

interest and to which it is entitled to payment via the standing sweep order approved by the DIP

Financing Orders.” (Doc. 1 at ¶ 24.) CDS knew or otherwise should have known of these facts

at the time it filed this suit and applied for temporary injunctive relief. CDS has therefore

improperly and knowingly exercised control over, and has appropriated to its use and benefit, the

property of CareNation.

    65. To date, CareNation has been directly harmed by CDS’ conversion in an amount not less

than $39,733.88. The damages to CareNation continue to accrue daily as the Capstone Division

continues to be deprived of operating funds necessary for the provision of primary pediatric care

to tens of thousands of patients.

    66. WHEREFORE, CDS is liable to CareNation for Conversion.

Count III – Unjust Enrichment.

    67. The Defendant hereby incorporates Paragraphs 1 through 66 of this Answer and

 Counterclaim as if fully restated herein.

    68. As stated more fully hereinabove, CDS has claimed funds due and owing to CareNation

 which are not subject to CDS’ “properly perfected senior security interest and to which it is

 entitled to payment via the standing sweep order approved by the DIP Financing Orders.” (Doc.

 1 at ¶ 24.) It would be inequitable for CDS to retain the unjust benefit of funds that are the

 property of CareNation, solely by virtue of the automatic daily sweep authority granted to CDS

 under the DIP Facility and DIP Financing Orders. Thus, CDS has been, and remains, unjustly

 enriched by funds due and owing to CareNation, and CareNation is entitled to recover the value

 of those funds to which it was, and remains, entitled.




Case 3:20-ap-90140        Doc 54     Filed 12/18/20 Entered 12/18/20 12:29:06        Desc Main
{02152833.3 }
                                    Document 16Page 16 of 19
         69.       WHEREFORE, CDS is liable to CareNation for unjust enrichment arising from

its automatic daily sweeps of funds due and owing to CareNation from the DIP Accounts.



                                            PRAYER FOR RELIEF

         WHEREFORE, PREMISES CONSIDERED, Defendant, America Cares Trust, Inc.

d/b/a CareNation prays for the following relief:

         1.        That, if necessary, proper process issue requiring the Plaintiff, CDS Business

Services, Inc. d/b/a Newtek Business Credit, to respond to the Counterclaim within the time

prescribed by law.

         2.        That this Court award Defendant declaratory relief pursuant to Tenn. Code Ann.

§§ 29-14-103 to 104:

                a. That CDS collected an amount not less than $117,832.58 from automatic daily

                   sweeps from the Operating Account and/or other DIP Accounts;

                b. That the DIP Facility and DIP Financing Orders entitled CDS to not more than

                   $78,000.00 of the funds it actually swept from the Operating Account and/or other

                   DIP Accounts; and

                c. That CDS has a right to recoupment of all funds swept by CDS in excess of the

                   amounts to which it was entitled under the DIP Facility and DIP Financing

                   Orders.

         3.        That CareNation be awarded compensatory damages in an amount not less than

$39,733.88, plus prejudgment and post judgment interest, in addition to any and all other

consequential, special, and punitive damages to which CareNation may be entitled by law.

         4.        That all court costs and discretionary costs in this cause be taxed to the Plaintiff,




Case 3:20-ap-90140           Doc 54    Filed 12/18/20 Entered 12/18/20 12:29:06             Desc Main
{02152833.3 }
                                      Document 17Page 17 of 19
CDS Business Services, Inc. d/b/a Newtek Business Credit, for which execution may issue, if

necessary.

         5.     That this Court award CareNation such other and further relief as this Court

deems necessary and proper.

                                           Respectfully submitted,

                                           BONE McALLESTER NORTON PLLC

                                           /s/ William J. Haynes, III
                                           Sam J. McAllester III, #03461
                                           William J. Haynes III, #17398
                                           511 Union Street, Suite 1600
                                           Nashville, Tennessee 37219
                                           (615) 238-6300 Phone
                                           (615) 238-6301 Facsimile
                                           Email: smcallester@bonelaw.com
                                                    whaynes@bonelaw.com

                                           Attorney for     America   Cares   Trust,   d/b/a
                                           CareNation




Case 3:20-ap-90140       Doc 54    Filed 12/18/20 Entered 12/18/20 12:29:06      Desc Main
{02152833.3 }
                                  Document 18Page 18 of 19
                                    CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was filed electronically on
December 18, 2020. Notice of this filing was sent by operation of the Court’s electronic filing
system to all those parties specifically requesting electronic service and as indicated on the
electronic filing receipt. Parties may access this filing through the Court’s electronic filing
system. In addition, notice was sent in the manner set forth in section 3, above.

         Daniel H. Puryear
         Puryear Law Group PLLC
         104 Woodmont Boulevard, Suite 201
         Nashville, TN 37205
         Counsel for the Plaintiff,
         CDS Business Services, Inc.
         d/b/a Newtek Business Credit

         David W. Houston IV
         Burr & Forman LLP
         222 Second Avenue South, Suite 2000
         Nashville, TN 37201
         dhouston@burr.com
         Counsel for Capstone Pediatrics, PLLC

         Daniel Fleming
         Wong Fleming
         821 Alexander Road, Suite 200
         Princeton, NJ 08540
         dfleming@wongfleming.com
         Counsel for Bank of America, NA

         Megan Seliber
         Office of the U.S. Trustee, Trial Attorney
         318 Customs House, 701 Broadway
         Nashville, TN 37203
         megan.seliber@usdoj.com
         Counsel for the United States Trustee

         Michael Gigandet
         Law Office of Michael Gigandet
         208 Centre Street
         Pleasant View, Tennessee 37146
         michael@mgigandet.com
         Chapter 7 Trustee

                                             /s/William J. Haynes, III
                                             William J. Haynes, III




Case 3:20-ap-90140       Doc 54    Filed 12/18/20 Entered 12/18/20 12:29:06           Desc Main
{02152833.3 }
                                  Document 19Page 19 of 19
